               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                         Civil Case No. 1:11cv253-MR
                       [Criminal Case No. 1:01cr052-14]


ROBERT L. SISK,              )
                             )
              Petitioner,    )
                             )
              vs.            )                   MEMORANDUM OF
                             )                  DECISION AND ORDER
                             )
UNITED STATES OF AMERICA,    )
FRANK STRATA, Warden,        )
                             )
              Respondents.   )
_____________________________)

      THIS MATTER is before the Court upon the Petitioner’s “Application

Under 28 U.S.C. §1651 for Writ of Habeas Corpus by a Person in State or

Federal Custody.” [Doc. 1].

      It is first noted that the Petitioner filed two documents.         The first,

consisting of the first nine pages of his filing, is addressed to the United States

District Court for the Middle District of Pennsylvania, where he is incarcerated.

[Id.]. In this document, he names the Respondent as the W arden of that

facility, Frank Strata. [Id.].

      The Petitioner, however, mailed this document to this Court along with

an attachment which he captioned “Motion pursuant to 28 U.S.C. 1651, the



   Case 1:01-cr-00052-MR-WCM       Document 473     Filed 10/24/11   Page 1 of 7
All Writs Act.” [Id. at 10]. In this document, he names as Respondents both

the United States of America and Frank Strata, Warden. [Id.].

      The Court will dismiss the first document without prejudice as having

been improvidently filed in this District. The Court will consider the second

document as a Petition for a Writ addressed to this Court.

                      PROCEDURAL BACKGROUND

      On August 6, 2001, the Petitioner and thirteen co-defendants were

charged with conspiracy to possess with intent to distribute cocaine and

methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1), 841(b)(1) and

856. [Criminal Case No. 1:01cr52-14, Doc. 3]. The Petitioner was tried by a

jury and convicted on November 16, 2001. [Id. at Doc. 194].

      A pre-sentence report was prepared in which it was recommended that

the Petitioner be sentenced as a career offender pursuant to U.S.S.G. 4B1.1

(2001) based on two predicate convictions for crimes of violence that were,

at the time he was sentenced thereon, punishable by more than one year in

prison. [Id. at Doc. 437]. The sentencing Court determined that the Petitioner

was a career offender and sentenced him to 276 months imprisonment. [Id.

at Doc. 307; Doc. 441].

      The Petitioner appealed, raising a number of challenges not relevant

here. The United States Court of Appeals for the Fourth Circuit affirmed his


                                      2

   Case 1:01-cr-00052-MR-WCM     Document 473    Filed 10/24/11   Page 2 of 7
conviction and sentence, and the Supreme Court denied the Petitioner’s

petition for a writ of certiorari. United States v. Sisk, 87 F. App’x 323 (4th Cir.

2004), cert. denied 543 U.S. 882, 125 S.Ct. 155, 160 L.Ed.2d 138 (2004).

      On October 13, 2005, the Petitioner filed a pro se Motion to Vacate, Set

Aside or Correct Sentence pursuant to 28 U.S.C. § 2255, alleging, among

other things, that counsel mishandled a challenge to his status as a career

offender. [Civil Case No. 1:05cv312, Doc. 1]. On October 23, 2009, the Court

granted summary judgment to the government, denying and dismissing the

Petitioner’s Motion to Vacate.1 [Id. at Doc. 14]. The Fourth Circuit dismissed

the Petitioner’s appeal. United States v. Sisk,              F.App’x       , 2011 WL

2631471 (4th Cir. July 5, 2011).

      On September 28, 2011, the Petitioner filed this action.2 [Doc. 1]. The

Petitioner claims that his sentence as a career offender is invalid in light of

intervening, retroactive decisions by the United States Supreme Court,

specifically Johnson v. United States, __ U.S. __, 130 S.Ct. 1265, 176


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        On August 20, 2010, the Petitioner filed a Motion for Reconsideration pursuant
to Rule 60(b) of the Rules of Civil Procedure which the Court dismissed as a successive
§ 2255 motion [Civil Case No. 1:05cv312, Doc. 26; Doc. 28]. The Fourth Circuit
construed the Petitioner’s appeal as an application to file a second or successive §2255
motion and denied it. United States v. Sisk,     F. App’x , 2011 WL 3805667 (4th Cir.
Aug. 30, 2011).
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        Petitioner’s sentence was imposed by the Honorable Lacy H. Thornburg.
Judge Thornburg retired in 2009. This case has, therefore, been assigned to the
undersigned.

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   Case 1:01-cr-00052-MR-WCM         Document 473      Filed 10/24/11   Page 3 of 7
L.Ed.2d 1 (2010) and Begay v. United States, 553 U.S. 137, 128 S.Ct. 1582,

170 L.Ed.2d 490 (2008).

                                    DISCUSSION

      The All Writs Act, 28 U.S.C. §1651, "is a residual source of authority [by

which a district court may] issue writs that are not otherwise covered by

statute." Pennsylvania Bureau of Correction v. U.S. Marshals Service, 474

U.S. 34, 43, 106 S.Ct. 355, 88 L.Ed.2d 189 (1985). Petitioner does not

specify the writ under which he seeks to proceed, but it appears to be in the

nature of a writ of error audita querela.3 Regardless of the specific writ,

however, collateral attack under any writ is not available to a federal prisoner

where post-conviction relief would be cognizable pursuant to 28 U.S.C.

§2255, which provides that a “prisoner in custody under sentence of a court

established by Act of Congress claiming ... that the sentence was imposed in

violation of the ... laws of the United States ..., may move the court which

imposed the sentence to vacate, set aside or correct the sentence.” United

States v. Miller, 599 F.3d 484, 488 (5th Cir. 2010).



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        “Audita querela, literally ‘the complaint having been heard,’ is a common law writ
used to attack a judgment that was correct when rendered, but that later became
incorrect because of circumstances that arose after the judgment was issued.”
Carrington v. United States, 503 F.3d 888, 890 n.2 (9th Cir. 2007), opinion amended on
other grounds 530 F.3d 1183 (9th Cir. 2008) (citation omitted). Interpreting the Petition
herein as seeking a writ of audita querela may constitute more than giving the Petitioner
the benefit of the doubt.

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   Case 1:01-cr-00052-MR-WCM          Document 473      Filed 10/24/11    Page 4 of 7
      The procedure by which a prisoner may attack his sentence based on

an erroneous designation as a career offender is a Motion to Vacate, Set

Aside or Correct Sentence pursuant to 28 U.S.C. § 2255. United States v.

O’Neal-Sloane, 371 F. App’x 298 (3 rd Cir. 2010), cert. denied 131 S.Ct. 190,

178 L.Ed.2d 114 (2010). The Petitioner has previously filed such a motion

which was denied and the appeal therefrom was dismissed. The Antiterrorism

and Effective Death Penalty Act of 1996 (AEDPA) requires that before the

Petitioner may file a second or successive collateral attack upon his federal

conviction or sentence, the Petitioner must first obtain authorization from the

appropriate court of appeals. 28 U.S.C.A. § 2244(b)(3). The Petitioner has

not done so and he may not avoid AEDPA's requirements for filing a second

or successive §2255 motion by filing a petition for some unspecified writ under

the All Writs Act. United States v. Rodriquez, 2011 WL 4582594 (3 rd Cir.

2011) (dealing with career offender designation); United States v. Hill, 398 F.

App’x 919 (4th Cir. 2010), cert. denied 131 S.Ct. 2135, 179 L.Ed.2d 922

(2011); United States v. Samuels, 376 F. App’x 291 (4 th Cir. 2010) (dealing

with career offender designation).        “[T]he statutory limits on second or

successive habeas petitions do not create a ‘gap’ in the post-conviction

landscape that can be filled with the common law writs.” Carrington v. United

States, 503 F.3d 888, 890 (9th Cir. 2007), opinion amended on other grounds


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   Case 1:01-cr-00052-MR-WCM     Document 473     Filed 10/24/11   Page 5 of 7
530 F.3d 1183 (9th Cir. 2008); United States v. Torres, 282 F.3d 1241, 1245

(10th Cir. 2002) (“[A] writ of audita querela is not available to a petitioner when

other remedies exist, such as a motion to vacate sentence under 28 U.S.C.

§2255.”) (internal quotation and citation omitted). As a result, the Petitioner’s

relief, if any may be available to him, may come only by seeking leave from

the United States Court of Appeals for the Fourth Circuit to file a second or

successive motion pursuant to 28 U.S.C. §2255.                 United States v.

Valdez-Pacheco, 237 F.3d 1077, 1080 (9th Cir. 2001) (“A prisoner may not

circumvent valid congressional limitations on collateral attacks by asserting

that those very limitations create a gap in the postconviction remedies that

must be filled by common law writs.”) (citations omitted).

      Notwithstanding the title assigned to this case, it is a collateral attack on

the validity of the Petitioner’s sentence and thus, is a successive §2255

motion.   Because the Petitioner has not obtained authorization from the

Fourth Circuit Court of Appeals to file such a motion, this action must be

dismissed.

      The Court further finds that the Petitioner has not made a substantial

showing of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller -El

v. Cockrell, 537 U.S. 322, 336-38, 123 S.Ct. 1029, 154 L.Ed.2d 931 (2003) (in

order to satisfy § 2253(c), a petitioner must demonstrate that reasonable


                                        6

   Case 1:01-cr-00052-MR-WCM       Document 473     Filed 10/24/11   Page 6 of 7
jurists would find the district court’s assessment of the constitutional claims

debatable or wrong) (citations omitted). As a result, the Court declines to

issue a certificate of appealability. Rule 11(a), Rules Governing Section 2255

Proceedings for the United States District Courts.

                                        ORDER

      IT IS, THEREFORE, ORDERED that the Petitioner’s Application under

28 U.S.C. §1651 for Writ of Habeas Corpus by a Person in State or Federal

Custody [Doc. 1 at 1-9] is hereby DISMISSED without prejudice as

improvidently filed in this District.

      IT IS FURTHER ORDERED that the Petitioner’s “Motion pursuant to 28

U.S.C. 1651, the All Writs Act,” [Doc. 1 at 10-32] is hereby DISMISSED.

      IT IS FURTHER ORDERED that the Court declines to issue a certificate

of appealability.

                                          Signed: October 24, 2011




                                          7

   Case 1:01-cr-00052-MR-WCM        Document 473    Filed 10/24/11   Page 7 of 7
